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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                                                                      01/31/2018
                                     CHARLOTTESVILLE DIVISION


   ELIZABETH SINES, ET AL.,                           CASE NO. 3:17-CV-00072
                                  Plaintiffs,
   v.                                                 ORDER
   JASON KESSLER, ET AL.,
                                                      JUDGE NORMAN K. MOON
                                  Defendants.



         This matter is before the Court on two motions made by Kyle Chapman on behalf of

  Defendant Fraternal Order of the Alt-Knights. First, Chapman sent the Court a letter dated

  January 22, 2018 asking the Court for three additional weeks to find counsel in Virginia. (Dkt.

  208). Chapman has previously filed a similar letter, (dkt. 176), which the Court denied as moot

  in light of the Plaintiffs’ filing of an amended complaint, (dkt. 177). Second, Chapman went

  ahead and filed a motion to dismiss, (dkt. 202), a declaration in support of that motion to dismiss,

  (dkt. 203), and a brief in support of that motion to dismiss, (dkt. 204). Chapman, who is not a

  defendant in his personal capacity, personally filed all of these documents on behalf of

  Defendant Fraternal Order of the Alt-Knights.

         While an individual may represent himself or herself, “a corporation may appear in the

  federal courts only through licensed counsel.” Rowland v. Calif. Men’s Colony, 506 U.S. 194,

  202–03 (1993). This rule “applies equally to all artificial entities.” Id. at 202. Defendant

  Fraternal Order of the Alt-Knights is an “artificial entit[y],” and so Chapman may not represent it

  in this Court because he does not appear to be a licensed attorney.

         Accordingly, Defendant Fraternal Order of the Alt-Knights is DIRECTED to retain a

  licensed attorney and have that attorney note an appearance in this matter and file a proper

  responsive pleading within fourteen (14) days of entry of this Order. See W.D. Va. Gen. R.
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  6(a)–(d), (i). Failure to comply with this Order will result in default being entered against

  Defendant Fraternal Order of the Alt-Knights. Chapman’s request for an extension of time, (dkt.

  208), is GRANTED in part, and Chapman’s motion to dismiss, (dkt. 202), declaration, (dkt.

  203), and brief, (dkt. 204), are STRICKEN.

         It is so ORDERED. The Clerk of the Court is hereby directed to send a certified copy of

  this Order to Plaintiffs, Defendants, and all counsel of record.

                      31st day of January, 2018.
         Entered this _____




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